      Case 8-22-73464-ast        Doc 27     Filed 05/22/23     Entered 05/22/23 14:58:56

 UNITED STATES BANKRUPTCY COURT                            June 8, 2023
 EASTERN DISTRICT OF NEW YORK                              11:00 AM
 ==================================X
 IN RE:                                                    Case No. 822-73464-AST

 STELLA DOULIS                                             Hon. ALAN S. TRUST
 AKA STELLA SIDERIDIS
 AKA STYLIANI SIDERIDIS
 AKA STYLIANI DOULIS,

                                                            NOTICE OF MOTION
                  Debtor.
 ==================================X

               PLEASE TAKE NOTICE, that upon the within application, Krista M. Preuss,
Chapter 13 Trustee will move this court before the Hon. Alan S. Trust, Chief U.S. Bankruptcy
Judge, for the Eastern District of New York, on June 8, 2023 at 11:00 AM or as soon thereafter
as counsel can be heard, for an order pursuant to 11 U.S.C. 1307(c) dismissing this Chapter 13
case and for such other and further relief as may seem just and proper.


               Any hearing on the attached application will be held remotely, by telephone
or video conference. No in-person hearing will be held in the Courthouse on the date set
forth above.


               Any party appearing must register at least two (2) business days in advance
through eCourt Appearances at https://ecf.nyeb.uscourts.gov/cgi-bin/nyebAppearances.pl. Only
parties registered in advance will receive login instructions. Additional information is provided in
the Chief Judge’s procedures at https://www.nyeb.uscourts.gov/content/chief-judge-alan-s-trust.


               Responsive papers shall be filed with the bankruptcy court and served upon the
Chapter 13 Trustee, Krista M. Preuss, Esq., no later than seven (7) days prior to the hearing date
set forth above.   Any responsive papers shall be in conformity with the Federal Rules of
Bankruptcy Procedure and the Local Bankruptcy Rules for the Eastern District of New York, and
indicate the entity submitting the response, the nature of the response and the basis of the
response.

Date: Jericho, New York
      May 22, 2023                                   /s/ Krista M. Preuss
                                                     KRISTA M. PREUSS, TRUSTEE
                                                     100 JERICHO QUADRANGLE; STE 127
                                                     JERICHO, NY 11753
                                                     (516) 622-1340
      Case 8-22-73464-ast         Doc 27      Filed 05/22/23      Entered 05/22/23 14:58:56

 UNITED STATES BANKRUPTCY COURT                               June 8, 2023
 EASTERN DISTRICT OF NEW YORK                                 11:00 AM
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 IN RE:                                                       Case No: 822-73464-AST

 STELLA DOULIS                                                Hon. ALAN S. TRUST
 AKA STELLA SIDERIDIS
 AKA STYLIANI SIDERIDIS
 AKA STYLIANI DOULIS,

                                                               APPLICATION
                  Debtor.
 ==================================X

TO THE HONORABLE ALAN S. TRUST, CHIEF U.S. BANKRUPTCY JUDGE:

       Nathan Kaufman, Staff Attorney to KRISTA M. PREUSS, Chapter 13 Trustee in the above-
captioned estate, respectfully represents the following:

       1.    The Debtor filed a petition under the provisions of 11 U.S.C. Chapter 13 on
December 6, 2022, and, thereafter, KRISTA M. PREUSS was duly appointed and qualified as
Trustee.

       2.     The Debtor’s proposed Chapter 13 Plan (hereinafter referred to as the “Plan”) is
dated February 16, 2022 and provides for payments in the amount of $5,045 per month for a
period of 60 months. The Plan also provides that the Debtor’s pre-petition mortgage arrears
owed to Maspeth Federal Savings, secured by the real property located at 88 Birch Street,
Albertson, NY will be capitalized pursuant to a loan modification agreement.

        3.      It appears based on the record in this case that Debtor’s Counsel has not
submitted a loan modification application package to the creditor. In addition, pursuant to United
States Bankruptcy Court for the Eastern District of New York for the Eastern District of New
York General Order No. 543 as amended by General Order Nos. 582 and 676, this Court does
not participate in the Loss Mitigation Program. As such, the Trustee objects to the confirmation
of the Plan because the Plan is not adequately funded to provide for full repayment to all
secured creditors as required by 11 U.S.C § 1325(a)(5).

        4.      Furthermore, the Debtor has failed to:

        a. stay current with pre-confirmation Chapter 13 Plan payments to the Trustee as
           required by 11 U.S.C. § 1326(a)(1); and

        b. comply with 11 U.S.C § 1325(a)(6) in that the Debtor has failed to submit timely
           Chapter 13 Plan payments to the Trustee, and is $9,602.08 in arrears to the Chapter
           13 Trustee through May 2023; and

        c. provide the Trustee with disclosure documentation as required by E.D.N.Y LBR 2003-
           1.

       5.      The Debtor’s failure to provide these items impedes the Trustee’s ability to
administer this case and, therefore, is a delay that is prejudicial to the rights of the creditors of the
Debtor pursuant to 11 U.S.C. §1307(c)(1).

      6.      Each of the foregoing constitutes cause to dismiss this Chapter 13 case within the
meaning of 11 U.S.C. §1307(c).
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        WHEREFORE, the Chapter 13 Trustee respectfully requests that this Court enter an
Order dismissing this Chapter 13 case and for such other and further relief as may seem just and
proper.

Dated: Jericho, New York
       May 22, 2023
                                                   s/Nathan Kaufman
                                                   Nathan Kaufman, Staff Attorney
                                                   Chapter 13 Trustee Krista M. Preuss
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X   Case No: 822-73464-AST
IN RE:

 STELLA DOULIS
 AKA STELLA SIDERIDIS
 AKA STYLIANI SIDERIDIS
 AKA STYLIANI DOULIS,

                                                                        CERTIFICATE OF SERVICE

                                       Debtors.
-----------------------------------------------------------X

                This is to certify that I, Nathan Kaufman, declare under penalty of perjury that I
have sent the attached document to the below listed entities in the manner shown, and prepared
the Certificate of Service and that it is true and correct to the best of my information and belief.

Notice by first class mail was sent to the following persons/entities:

STELLA DOULIS
88 BIRCH HILL
ALBERTSON, NY 11507

Notice by electronic transmission generated by the ECF system to the following person/entities
pursuant to Bankruptcy Rule 9036:

JOSEPH NOHAVICKA, ESQ., jnfirm@aol.com
Maspeth Federal Savings and Loan Association c/o Mark L. Cortegiano, Esq.,
mark@cortegianolaw.com

Transmission times for electronic delivery are Eastern Time zone.


This May 22, 2023

/s/Nathan Kaufman
Nathan Kaufman, Staff Attorney
Office of the Standing Chapter 13 Trustee
Krista M. Preuss
100 Jericho Quadrangle; Suite 127
Jericho, NY 11753
(516) 622-1340
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CASE NO: 822-73464-AST
Hon. ALAN S. TRUST

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
========================================================================
IN RE:

STELLA DOULIS
AKA STELLA SIDERIDIS
AKA STYLIANI SIDERIDIS
AKA STYLIANI DOULIS,

                  Debtor.
=======================================================================

             NOTICE OF MOTION AND APPLICATION TO DISMISS CASE

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                            KRISTA M. PREUSS, TRUSTEE
                         100 JERICHO QUADRANGLE; STE 127
                                 JERICHO, NY 11753
                                   (516) 622-1340
